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PS8
(Rev. 5/02 WVN)

UNITED STATES DISTRICT COURT
for the
Northern District of West Virginia

U.S.A. vs. BARRY LEE STADLER Docket No.: 5:22CR29
Petition for Action on Conditions of Pretrial Release

COMES NOW CORY W. BISH, U. S. PRETRIAL SERVICES OFFICER, presenting an
official report upon the conduct of defendant, Barry Lee Stadler, who was placed under pretrial
release supervision by the Honorable James P. Mazzone, sitting in the Court at Wheeling, West
Virginia, on August 30, 2022, under the following conditions:

See attached Conditions of Release

Respectfully presenting petition for action of court for cause as follows:

Violation Number Nature of Non-Compliance

1 The defendant has violated conditions (1), (7)(f), and (7)(r). On February
4, 2023, the defendant was involved in a traffic accident in Springfield,
Illinois, and then fled the scene. A police officer contacted the defendant,
but the defendant refused to return or meet to make a crash report. The
defendant then received citations for the offenses of Leaving the Scene of
an Accident-Vehicle Damage, Operating Uninsured Motor Vehicle, and
Failure to Reduce Speed/Accident to Avoid Accident. (See attached copy
of Illinois Traffic Report and Citations.)

The defendant did not have permission to travel to Springfield, Ilinois,
and failed to notify his supervising officer of the law enforcement contact.

PETITIONING THE COURT

To issue a warrant

[| To issue a summons

[| Neither
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PS8& PS8 Petition for Action on Conditions of Pretrial Release

Note: The defendant's pretrial supervision is being conducted by the Western District of
Michigan — Grand Rapids, as the defendant is a resident of that district. The defendant is being
supervised by United States Probation Officer Kristina Snow. On August 30, 2022, the defendant
appeared before The Honorable James P. Mazzone, in Wheeling, West Virginia, and entered a
plea of guilty to Count One of the Indictment. Sentencing remains pending.

U.S. Pretrial Services Officer Recommendation:

The term of supervision should be:

Revoked

[| No action taken at this time

[| The conditions of supervision should be modified as follows:

Respectfully,

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) Ls
Cory W. Bish
U. S. Pretrial Services Officer
Place: Wheeling, West Virginia
Date: February 23, 2023

 

 
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PS8 PS8 Petition for Action on Conditions of Pretrial Release

THE COURT ORDERS

[| No action

[7 The Issuance of a Warrant
[| The Issuance of a Summons

[| Other

ORDER OF COURT

Considered and ordered this Ls day
of Fel , 20_2 Sand ordered filed
and made a part of the records in the above
case.

Ze /e

U. S. District Judge/Magistrate

 
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UNITED STATES DISTRICT COURT

 

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Northern District of West Virginia F | L E D
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United States of America is 30 2022
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5 Case No, 5:22-CR-29 WHEELING, wy 26003 N°
)
BARRY LEE STADLER )
Defendant )

ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant’s release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at: __ 1125 Chapline Street, Wheeling, WV 26003

 

Place

 

on TO BE DETERMINED

Date and Time

(5) The defendant must sign an Appearance Bond, if ordered.

 

ADDITIONAL CONDITIONS OF RELEASE

IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

() (6) The defendant is placed in the custody of:
Person or organization
Address (only ifabove is an organization)

City and state Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.

 

 

Signed:

 

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ADDITIONAL CONDITIONS OF RELEASE

 

 

 

 

 

 

 

 

 

 

 

Custodian Date

The defendant shall:

(a) submit to supervision by and report for supervision to United States Probation
telephone number 304-232-8474 no laterthan AS DIRECTED

(b) continue or actively seek employment.

(c) continue or start an education program.

(d) surrender any passport to: Clerk WVND

(e) not obtain a passport or other international travel document.

(f) abide by the following restrictions on personal association, residence, or travel: travel restricted to Northern District of West
Virginia unless approved in advance by Pretrial Services.

(g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including: | _anyone who is named in the indictment/information against you unless that person is your spouse, child,
parent or sibling.

(h) get medical or psychiatric treatment:

(i) return to custody each at o’clock after being released at o'clock for employment,
schooling, or the following purposes:

(j) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer
considers necessary.

(k) not possess a firearm, destructive device, or other weapon.

(1) not consume alcohol.

(m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a
medical practitioner.

(n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used
with random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any
form of prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the
efficiency and accuracy of prohibited substance screening or testing.

(0) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office
or supervising officer.

(p) participate in one of the following location restriction programs and comply with its requirements as directed.

( ) (i) Curfew. You are restricted to your residence everyday from to or as
directed by the pretrial services office or supervising officer; or

( ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious
services; medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
obligations; or other activities approved in advance by the pretrial services office or supervising officer; or

(_ ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities
and court appearances or other activities specifically approved by the court.

(q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
requirements and instructions provided.

(_) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office
or supervising officer.
(r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel,
including arrests, questioning, or traffic stops.

(s) not purchase, possess or use any paraphernalia related to any controlled substance.

(t) not purchase, possess or consume any organic or synthetic intoxicants, including bath salts, synthetic cannabinoids or other
designer stimulants, and shall not frequent places that sell or distribute synthetic cannabinoids or designer stimulants.

(u) not abuse prescription medication.

(v) shall be prohibited from possessing a potentially vicious or dangerous animal or residing with anyone who possesses a potentially
vicious or dangerous animal. The Probation Officer has sole authority to determine what animals are considered to be potentially
vicious or dangerous.

(w) participate in a program of mental health counseling if directed by the pretrial services office or supervising officer.

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ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined
not more than $250,000 or imprisoned for not more than 10 years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not
more than $250,000 or imprisoned for not more than five years, or both;
(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) amisdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

I] acknowledge that I am the defendant in this case and that 1 am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions

set forth above.
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City and State

Directions to the United States Marshal

(_) The defendant is ORDERED released after processing.
( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the
defendant has posted bond and/or complied with all othep-conditions for release. If still in custody, the defendant must be
produced before the appropriate judge at the time and place specified:

NK
Date: & “BO-22

     
  

 

 

Judicial Officer's Signature

( Jarpes P. Mazzone, United States Magistrate Judge
Se

Printed name and title

DISTRIBUTION: COURT DEFENDANT PRETRIALSERVICE U.S.ATTORNEY — U.S. MARSHAL

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